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     Attorneys for Claimant
 7   MAREK RUDAK
 8
 9                           UNITED STATES DISTRICT COURT
10
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12   UNITED STATES OF AMERICA,              Case No. 2:21-CV-07505-MCS-JEM
13
                  Plaintiff,                CLAIMANT MAREK RUDAK’S
14                                          NOTICE OF MOTION AND
                  v.
15                                          MOTION TO DISMISS THE
     $340,000.00 IN U.S. CURRENCY           UNITED STATES OF AMERICA’S
16                                          VERIFIED COMPLAINT FOR
     AND MISCELLANEOUS PRECIOUS
17   ITEMS,                                 FORFEITURE

18                Defendants.               Date:     March 7, 2022 (Monday)
19                                          Time:     9:00 a.m.
                                            Location: Department 7C
20
21                                          Judge: Hon. Mark C. Scarsi
22                                          Complaint Filed: September 20, 2021
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 1         TO PLAINTIFF THE UNITED STATES GOVERNMENT AND ITS
 2   ATTORNEY OF RECORD:
 3         PLEASE TAKE NOTICE that on March 7, 2022 at 9:00 a.m., or as soon
 4   thereafter as the matter may be heard, in the courtroom of the Honorable Mark C.
 5   Scarsi, Courtroom 7C, 350 West 1st Street, 7th Floor, Los Angeles, California
 6   90012, claimant Marek Rudak will and hereby does move, pursuant to Federal Rule
 7   of Civil Procedure (“FRCP”) 12(b)(6) to dismiss the United States of America’s
 8   (the “Government”) Verified Complaint for Forfeiture (“Complaint”).
 9         Each of the Government’s claims fails to assert a claim pursuant to FRCP
10   12(b)(6) as the Complaint does not allege with sufficient particularity that
11   Defendant, $340,000.00 in U.S. Currency and Miscellaneous Precious Items
12   (“Claimant’s Property”) is traceable to a proscribed unlawful transaction. 18 U.S.C.
13   § 981(a)(1)(A), (C); See also FRCP SUPP AMC Rule G(2). The Complaint further
14   fails to assert any claims that Claimant’s Property was: “(1) furnished or intended to
15   be furnished in exchange for a controlled substance; (2) traceable to such an
16   exchange; or (3) used or intended to be used to facilitate a violation of federal drug
17   laws.” United States v. U.S. Currency, $30,060.00, 39 F.3d 1039, 1041 (9th Cir.
18   1994); 21 U.S.C. § 881(a)(6).
19         Moreover, the Government has not plead sufficient factual allegations to
20   establish the existence of an underlying criminal act. The Government has failed to
21   allege facts to support its first claim for violation of the Controlled Substances Act
22   under 21 U.S.C. § 841. The Complaint does not assert that Claimant distributed a
23   controlled substance. There are no allegations as to Claimant’s knowledge of any
24   purported distribution. And, the Complaint is silent as to the type of controlled
25   substance or the alleged amount of such substance.
26         The Complaint further fails to assert the second claim for fraudulent
27   racketeering under 18 U.S.C. § 1961(1)(D). It fails to identify specific acts or
28   omissions upon which a claim of fraud can be found. Indeed, the Complaint does
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 1   not provide any details as to the time, date, place, or other facts of the alleged
 2   fraudulent involvement of Claimant. Rather, the Government’s allegations are
 3   merely conclusory.
 4         The Complaint fails to assert the third cause of action for money laundering
 5   under Section 1956. The Government has not alleged (let alone with specificity)
 6   the existence of any financial transaction that Claimant participated in involving
 7   proceeds from alleged unlawful activity. There is certainly no claim that Claimant
 8   had knowledge of such activities (which of course were not alleged in the first
 9   place). There are also no allegations asserting that Claimant had any intention to
10   promote unlawful activity or knew of any transaction that was designed to conceal
11   such activity.
12         The Complaint fails to assert the fourth cause of action for conspiracy to
13   launder money under Section 1957(a). The Complaint is entirely lacking of any
14   allegations that Claimant entered into an agreement to engage in any sort of
15   monetary transaction derived from an alleged criminal activity. Instead, as with the
16   rest of the claims, the Government merely makes conclusory statements without
17   any factual support.
18         Additionally, the Complaint fails as Claimant is an innocent owner under 18
19   U.S.C. § 983 and is entitled to the return of his property.
20         Claimant further alleges that these deficiencies in the Complaint are fatal and
21   that the Court should deny leave to amend.
22         This motion is made following the conference of counsel pursuant to L.R. 7-3
23   which took place on December 30, 2021. Declaration of Yael Tobi, ¶3.
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25   ///
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 1         This motion is based upon the attached memorandum of points and
 2   authorities, request for judicial notice, the declarations of Yael Tobi and Marek
 3   Rudak, the proposed order granting the motion, all pleadings and papers on file in
 4   this action, such other and further matters as may be presented at any hearing on
 5   this motion, and matters of which the Court may take notice.
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                                            Respectfully submitted,
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     DATED: January 6, 2022                 MUNCK WILSON MANDALA, LLP
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 9                                          By: /s/ Yael Tobi
                                               Yael Tobi
10                                              Attorneys for Claimant
                                                MAREK RUDAK
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